        Case 1:17-cv-00508-MAC           Document 132-2 Filed 06/29/21            Page 1 of 1 PageID #:
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                                IN THE UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF TEXAS
                                         BEAUMONT DIVISION

        ROBISON, JEREMY, individually and on §
        behalf of his son, a MINOR, and all  §
        similarly situated persons,          §
                                             §
                Plaintiffs,                  §
                                             §                Case No. 1:17-cv-00508
        v.                                   §
                                             §
        CNA INSURANCE COMPANY, et al.        §
                                             §
                Defendants                   §

             ORDER GRANTING DEFENDANT CONTINENTAL CASUALTY COMPANY’S
               FIRST AMENDED MOTION TO EXCLUDE EXPERT TESTIMONY OF
                               DR. LINDELL K. WEAVER

                   ON THIS DAY, came to be considered Defendant Continental Casualty Company’s

        (“Continental”) First Amended Motion to Exclude Expert Testimony of Dr. Lindell K. Weaver

        (“Dr. Weaver”). The Court, having taken judicial notice of its file and considered Continental’s

        Motion to Exclude Expert Testimony of Dr. Lindell K. Weaver (the “Motion”), Plaintiffs’ response

        thereto, and the arguments of counsel, if any, hereby grants the Motion and orders that the

        following testimony and/or opinions of Dr. Weaver be excluded from the trial in this case:

                   (1)   Any testimony regarding his evaluations or diagnosis of the medical conditions of
                         Plaintiffs and any treatment required to address the medical consequences of the
                         alleged carbon monoxide poisoning; and

                   (2)   Any testimony regarding the required and reasonableness of costs of future medical
                         treatment, diagnosis, prognosis and causation related to the alleged brain damage
                         and subsequent medical complications and impairments due to the alleged
                         poisoning.




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